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Section 4.04. Assignment of Agreement. The Institution may
assign its interest in this Agreement, in whole or in part,

without the prior written consent of the Authority or the Trustee
provided that in connection with any such assignment of this
Agreement, in whole or in part, other than in the ordinary course
of business, the Institution shall provide the Trustee with (i) an
Officer's Certificate to the effect that such assignment will not
result in any event of default, or event which, with the passage
of time or the giving of notice or both would constitute such
event of default under the Master Indenture and (ii) an opinion of
Bond Counsel to the effect that such assignment is authorized or
permitted under the terms of the Act and will not, by itself,
result in the interest on the Series 1993 Certificates becoming
includable in gross income for federal income tax purposes. No
such assignment shall relieve the Institution from its obligations
hereunder or under the Promissory Note.

Section 4.05. Maintenance and Operation of Property. The
Institution shall be responsible for operating the Project and
maintaining the Project in good working order; provided, however,
that nothing in this Section 4.05 shall require the Institution to
operate or maintain the Project or any part thereof if it
determines that it is not in its best interests to do so.

Section 4.06. Insurance. The Authority shall not have any
obligation to keep or maintain or cause to be kept or maintained
the Project or a portion thereof insured. The Institution shall
be responsible for maintaining, or causing to be kept and
maintained, insurance in accordance with the provisions of Article
Vv of the Master Indenture.

Section 4.07. Additions, Modifications and Improvements.
The Institution may remodel, renovate, or improve all or any
portion of the Project or any of its other properties or make
additions, modifications or improvements thereon or thereto as it,
in its discretion may deem desirable for its purposes and uses.

Section 4.08. Leases and Operating Contracts. The
Institution may lease all or substantially all or any portion of
the Project or any of its facilities or contract for the
performance by others of all or substantially ali of the
operations or services at or in connection with the Project or any
portion of its facilities provided that (i) no such lease or
contract shall result in an event of default or an event which,
with the lapse of time or the giving of notice would constitute
such an event of default under the terms of the Master Indenture
or (ii) adversely affect the exclusion of interest on the Series
1993 Certificates from gross income for federal income tax

purposes.
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Section 4.09. Provision of Financial Statements. The
Institution hereby agrees that it will provide, upon receipt of
written notice received by the Institution from any registered
owner of Series 1993 Certificates in an outstanding principal
amount of $1,000,000 or more, copies of any quarterly financial
statements prepared by or on behalf of the Institution.

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ARTICLE V

LOAN_PAYMENTS ; THE NOTE

Section 5.01. Provision for Payment of Loan Payments. The

Institution shall provide for the repayment of the Lean by issuing
to the Trustee, pursuant to the Master Indenture, the Promissory

Note.

Section 5.02. Credits for Payments under the Promissory

Note. The Institution shall receive credit for payments under the
Promissory Note, in addition to any credits resulting from payment
or prepayment from other sources as follows:

(a) on the interest portion of its payments under the
Promissory Note in an amount equal to the moneys on deposit
in the Interest Account in the Sinking Fund which amounts are
available to pay interest on the Series 1993 Certificates to
the extent such interest amounts have not previously been
credited against Loan Payments;

(b) on the principal portion of its payments under the
Promissory Note in an amount equal to the moneys on deposit
in the Principal Account or Redemption Account of the Sinking
Fund which amounts are available to pay principal of the
Series 1993 Certificates to the extent such principal amounts
have not previously been credited against payments under the
Promissory Note;

(Cc) on installments of principal and interest portions,
respectively, of its payments under the Promissory Note, in
an amount equal to the principal and interest of Series 1993
Certificates which have been called by the Trustee for
redemption prior to maturity and for the redemption of which
sufficient amounts are on deposit in the Redemption Account
in the Sinking Fund to the extent such amounts have not
previously been credited against such portions of payments
under the Promissory Note, and interest on such Series 1993
Certificates from and after the Redemption Date. Such
credits shall be made against principal atid interest portions
of payments under the Promissory Note which would be used,
but for such call for redemption, to pay principal and
interest of such Series 1993 Certificates when due at
maturity or upon mandatory sinking fund redemption pursuant
to Article III of the Indenture for the Series 1993
Certificates; and

(ad) on installments of principal and interest portions,
respectively, of its payments under the Promissory Note, in
an amount equal to the principal amount of Series 1993
Certificates acquired by the Institution and delivered to the
Trustee for cancellation or purchased by the Trustee and
cancelled, and interest on such Series 1993 Certificates from

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and after the date interest thereon has been paid prior to
cancellation. Such credits shall be made against principal
and interest portions of payments under the Promissory Note
which would be used, but for such cancellation, to pay
principal and interest on the Series 1993 Certificates when
due, and with respect to mandatory sinking fund requirements
for the Series 1993 Certificates so cancelled against
principal installments which would be used to pay Series 1993
Certificates in order of such mandatory sinking fund
requirements.

Section 5.03. [Intentionally Omitted]

Section 5.04. [Intentionally Omitted. }

Section 5.05. Debt Service Reserve Fund. The Institution

agrees to maintain in the Debt Service Reserve Fund either moneys
or investments (or a combination thereof) with a Value at least
equal to the Reserve Requirement, or a Reserve Fund Letter of
Credit as provided in Section 506 of the Indenture. In the event
that funds on deposit in the Debt Service Reserve Fund are applied
by the Trustee to the payment of principal of or interest on the
Series 1993 Certificates, the Institution shall pay to the Trustee
on each succeeding interest payment date, for deposit in the Debt
Service Reserve Fund, an amount such that the aggregate of such
payments over a period of 24 months from the date such payment is
made by the Trustee shall be sufficient to provide moneys or
investments in the Debt Service Reserve Fund with a Value equal to
the Reserve Requirement. In the event that the Trustee shail
notify the Institution that the Value of money and investments in
the Debt Service Reserve Fund as of the most recent date of
valuation is less than the Reserve Requirement, the Institution
shall pay to the Trustee on the next succeeding interest payment
date, for deposit in the Debt Service Reserve Fund, an amount such
that the Value of the moneys or investments in the Debt Service
Reserve Fund, after giving effect to such payment, will equal the
Reserve Requirement.

Section 5.06. Obligations Unconditional. The Institution’s

obligations under this Agreement and the Promissory Note are
continuing, unconditional and absolute, and are independent of and
separate from any obligations of the Authority, and shall not be
diminished or deferred for any reason whatsoever, irrespective of
the doing of any act or the omission thereof by the Authority, or
the Trustee, irrespective of the existence of any other
circumstances which might otherwise constitute a legal or
equitable defense or discharge of the obligations of the
Institution hereunder, including without limitation (i) any
matters of abatement, setoff, counterclaim, recoupment, defense or
other right the Institution may have against the Authority or the
Trustee, suppliers of any portion of the Project or anyone for any
reason whatsoever; (ii) compliance with specifications,

conditions, design, operation, disrepair or fitness for use of, or
any damage to or loss or destruction of any portion of the

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Project, or any interruption or cessation in the use or possession
thereof by the Institution, for any reason whatsoever; (iii) any
insolvency, bankruptcy, reorganization or similar proceedings by
or against the Institution; or (iv) any failure of any supplier to
deliver any portion of the Project for any reason whatsoever
except as otherwise provided herein. The Institution hereby
waives, to the extent permitted by applicable law, any and all
rights which it may now have or which at any time hereafter may be
conferred upon it, by statute or otherwise, to terminate, cancel,
quit or surrender this Agreement except in accordance with the
express terms hereof. Each Loan Payment made by the Institution
shall be final, and the Institution will not seek to recover all
or any part of such payment from the Authority or the Trustee for
any reason whatsoever. The parties to this Agreement intend that
the payments made pursuant to the Promissory Note shall be paid to
the Trustee on behalf of the Authority without diminution of any
kind.

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ARTICLE VI

OPTION TO PREPAY

Section 6.01. Prepayment of Loan Obligation and Promissory
Note. (a) At the option of the Institution and after giving at
least forty-five (45) days written notice by certified or
registered mail to the Authority and the Trustee, the Institution
may prepay all or a portion of its Loan Obligation (and the
Promissory Note) by paying to the Trustee the then applicable
optional redemption price as applicable under Article III of the
Indenture pertaining to the Series 1993 Certificates to which such
prepayment applies or by paying to the Trustee an amount (or
securities meeting the requirements of Article XI of the
Indenture), sufficient to defease all or any portion of the Series
1993 Certificates under the provisions of Article xI of the
Indenture or to redeem any certificates otherwise subject to
redemption under the Indenture. The Institution shall give the
Trustee not less than forty-five (45) days notice of any such
prepayment, and if any Series 1993 Certificates are to be called
for redemption in connection therewith, instructions to the
Trustee to call such Series 1993 Certificates for redemption.

(b) Upon prepayment of the full amount of the Loan
Obligation and the Promissory Note as provided for in this Section
6.01, this Agreement shall terminate, except for the obligations
and covenants provided in Sections 4.02, 4.03 and 8.04 (which will
continue in perpetuity) of this Agreement.

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ARTICLE VII

A NM

Section 7.01. Assignment by Authority or Trustee. This

Agreement and the Promissory Note, including the right to receive
payments required to be made by the Institution hereunder and
under the Promissory Note, and to compel or otherwise enforce
performance by the Institution, may be assigned in whole or in
part to one or more assignees or subassignees by the Authority or
the Trustee at any time subsequent to its execution without the
necessity of obtaining the consent of the Institution. The
Institution expressly acknowledges that all right, title and
interest of the Authority in and to this Agreement and the
Promissory Note (excluding the Authority’s right to
indemnification, fees and expenses) has been assigned to the
Trustee, as security for the Series 1993 Certificates as provided
in the Indenture, and that if any Event of Default shall occur,
the Trustee shall be entitled to act hereunder in the place and
stead of the Authority (other than with respect to matters to
which the Authority is entitled to consent) and may sell or
otherwise realize value on the collateral held to secure payment
of the Series 1993 Certificates.

The Institution hereby consents to such assignment and agrees
to make the payments due under the Promissory Note directly to the
Trustee or its agent and agrees that, as to the Trustee, its
obligation to make the payments required by the Promissory Note
and to observe and perform all other covenants, conditions and
agreements hereunder shall be absolute and unconditional,
irrespective of any rights of set-off, recoupment or counterclaim
it might otherwise have against the Authority, the Trustee, or any
manufacturer or supplier of any portion of the Project. Prior to
prepayment in full of the Promissory Note, the Institution will
not suspend or discontinue any such payment or fail to observe and
perform any of its other covenants, conditions and agreements
hereunder, and will not terminate this Agreement for any cause,
including without limitation failure of the Institution to
complete the acquisition, construction and installation of the
Project, failure of consideration, failure of title to any part or
all of the Project, or commercial frustration of purpose, or any
damage to or destruction or condemnation of all or any part of the
Project, or any change in the tax or other laws of the United
States of America, the State or any political subdivision thereof,
or any failure of the Authority to observe and perform any
covenants, conditions and agreements, whether express or implied,
or any duty, liability or obligation arising out of or in
connection with this Agreement or the Indenture. The Institution
may, however, after giving to the Authority and the Trustee ten
(10) days notice of its intention to do so, at its own expense and
in its own name, or in the name of the Authority, prosecute or
defend any action or proceeding or take any other action involving
third persons which the Institution deems necessary or desirable

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in order to secure or protect any of its rights hereunder. Upon
receipt by the Authority of an indemnity or indemnities from the
Institution satisfactory in all respects to the Authority, the
Authority shall reasonably cooperate with the Institution and will
take all reasonable and necessary action, at the Institution’s
sole cost and expense, to effect the substitution of the
Institution for the Authority in any Such action or proceeding if
the Institution shall so request. The Institution hereby approves
the Indenture and consents to said assignment and appointment.

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ARTICLE VIII

LQ DEFAULT D_REM

Section 8.01. Loan Defaults ined. If any of the
following events occurs, it is hereby defined as and declared to
be and to constitute a "Loan Default":

(a) failure by the Institution to pay any Loan Payment
or other payment required to be paid hereunder or under the
Promissory Note on or before the date on which such Loan
Payment is due and payable;

(b) failure by the Institution to observe and perform
any covenant, condition or agreement on its part to be
observed or performed under this Agreement other than the
failure referred to in Section 8.01l(a) hereof for a period of
thirty (30) days after written notice specifying such failure
and requesting that it be remedied, is given to the
Institution by the Authority or the Trustee, unless the
Authority and the Trustee shall agree in writing to an
extension of such time prior to its expiration; provided,
however, that if the failure stated in the notice is
correctable but cannot be corrected within the applicable
period, no Loan Default shali be deemed to have occurred or
to exist if, and so long as, in the Institution shall
commence such observance or performance within such 30-day
period and shall diligently and continuously prosecute the
same to completion. The Authority and the Trustee will not
unreasonably withhold their consent to an extension of such
time if corrective action is instituted by the Institution
within the applicable period and diligently pursued until
such failure is corrected;

(c} the filing by the Institution of a petition seeking
relief for itself under Title 11 of the United States Code,
as now constituted or hereafter amended, or the filing by the
Institution of an answer consenting to, admitting the
material allegations of or otherwise not controverting, or
the failure of the Institution to timely controvert, a
petition filed against it seeking relief under Title 11 of
the United States Code, as now constituted or hereafter
amended, or the filing of such petition or answer by the
Institution or the failure of the Institution to timely
controvert such a petition, with respect to relief under the
provisions of any other now existing or future applicable
bankruptcy, insolvency or other similar law of the United
States of America or any state thereof;

(d) the entry of an order for relief, which is not
stayed, against the Institution under Title 11 of the United
States Code, as now constituted or hereafter amended, or the
entry of an order, judgment or decree by operation of law or

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by a court having jurisdiction, which is not stayed,
adjudging the Institution a bankrupt or insolvent under, or
ordering relief against the Institution under, or approving
as properly filed a petition seeking relief against the
Institution under, the provisions of any other now existing
or future applicable bankruptcy or insolvency or other
similar law of the United States of America or any state
thereof, or appointing a receiver, liquidator, assignee,
sequestrator, trustee or custodian of the Institution or of
all or any substantial portion of the property of the
Institution, or ordering the reorganization, winding up or
liquidation of the affairs of the Institution, or the
expiration of sixty (60) days after the filing of any
involuntary petition against the Institution seeking any of
the relief specified in this Section without the petition
being dismissed prior to that time;

(@}) an event of default shall occur under the
Indenture; or

(£) a default under the Master Indenture shall have
occurred, which default is not cured or waived and extends
beyond any period of grace with respect thereto.

The foregoing provision (b) of this Section 8.01 is
subject to the following limitation: if by reason of force
Majeure, the Institution is unable in whole or in part to
carry out the agreements on its part herein contained, the
Institution shall not be deemed in default during the
continuance of such inability. The term “force maje " as
used herein shail mean, without limitation, the following:
acts of God; strikes, lockouts or other
industrial disturbances; acts of public enemies; orders or
restraints of any kind of the government of the United States
of America or of the State or any of their departments,
agencies or officials, or any civil or military authority;
insurrections; riots; landslides; earthquakes; fires; storms;
droughts; floods; explosions; or breakage or accident to
machinery, transmission pipes or canals.

Section 8.02. Notice of Default. The Institution

agrees to give the Trustee, the Master Trustee and the
Authority, promptly upon its becoming aware of the existence
thereof, written notice of (i) any action referred to in
Section 8.01l(c) or 8.01{d) filed by or against the
Institution or (ii) the occurrence of any other event or
condition which constitutes a Default or a Loan Default.

Section 8.03. Remedies, Whenever any Loan Default
shall have occurred and be continuing, the Authority and the
Trustee shall, in addition to any other remedies provided
herein or by law, have the right, at its or their option

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without any further demand or notice, to take one or any
combination of the following remedial steps:

(a) declare all amounts due under the Promissory
Note to be immediately due and payable, and upon notice
to the Institution the same shall become immediately due
and payable without further notice or demand; or

(b) take whatever other action at law or in equity
may appear necessary or desirable to collect the amounts
then due and thereafter to become due hereunder or to
enforce any other rights of the Trustee or the Authority
hereunder or as the owner of an Obligation issued under

the Master Indenture.

Section 8.04. Attorney’s Fees and Other Expenses. The

Institution on demand shall pay to the Authority or the Trustee
the actual and reasonable fees and expenses of attorneys and other
reasonable expenses incurred by either of them in connection with
any Loan Default, including, without limitation, fees and expenses
incurred in the collection of amounts due under the Promissory
Note or any other sum due or the enforcement of performance of any
other obligations of the Institution under this Agreement.

Section 8.05. Application of Moneys. Any moneys collected
by the Authority or the Trustee pursuant to Section 8.03 hereof
shall be applied (a) first, to pay any attorney’s fees or other
expenses owed by the Institution pursuant to Section 8.04 hereof,
{b) second, to pay interest and penalties due on the Loan
Obligation, (c) third, to pay principal due on the Loan
Obligation, (d} fourth, to pay any other amounts due hereunder,
and (e) fifth, to pay interest and principal on the Loan
Obligation and other amounts payable hereunder but which are not
due, as they become due (in the same order, as to amounts which
come due simultaneously, as in (a) through (e) in this Section

8.05).
Section 8.06. No Remedy Exclusive: Waiver: Notice. -No

remedy herein conferred upon or reserved to the Authority or the
Trustee is intended to be exclusive, and every such remedy shall
be cumulative and shall be in addition to every other remedy given
under this Agreement or now or hereafter existing at law or in
equity. No delay or omission to exercise any right, remedy or
power accruing upon any Default shall impair any such right,
remedy or power or shall be construed to be a waiver thereof, but
any such right, remedy or power may be exercised from time to time
and as often as may be deemed expedient. In order to entitle the
Authority or the Trustee to exercise any remedy reserved to it or
them in this Article VIII, neither the Trustee nor the Authority
shall be required to give any notice, other than such notice as
May be expressly required in this Article VIII.

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ARTICLE 1X
MISCELLANEOUS

Section 9.01. Notices. All notices, certificates or other
communications hereunder shall be sufficiently given and shall be
deemed given when hand delivered or mailed by registered or
certified mail, postage prepaid, to the following parties at the

following addresses:

Institution: South Fulton Medical Center, Inc.
1170 Cleveland Avenue
East Point, Georgia 30344
Attention: President and Chief Executive

Officer

Authority: Tri-City Hospital Authority
c/o South Fulton Medical Center
East Point, Georgia 30344
Attention: Chairman

Trustee and
Master
Trustee: Bank South, N.A.
55 Marietta Street
Atlanta, Georgia 30303
Attention: Corporate Trust Department, MC47

Any of the parties may, by notice in writing given to the others,
designate any further or different addresses to which subsequent
notices, certificates or other communications shall be sent.

Section 9.02. Binding Effect. This Agreement shall inure to
the benefit of and shall be binding upon the Authority and the
Institution and their respective successors and assigns.

Section 9.03. Severability. If any provision of this
Agreement shall be held invalid or unenforceable by any court of
competent jurisdiction, such holding shall not invalidate or
render unenforceable any other provision hereof.

Section 9.04. Amendments, Changes and Modifications. This
Agreement may not be amended by the Authority and the Institution
unless such amendment shall have been consented to in writing by

the Trustee.

Section 9.05. Counterparts. This Agreement may be
simultaneously executed in several counterparts, each of which
shall be an original but all cf which shall constitute but one and

the same instrument.

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Section 9.06. Applicable Law. This Agreement shall be
governed by and construed in accordance with the laws of the

State.

Section 9.07. Consents and Approvals. Whenever the written

consent or approval of the Authority shall be required under the
provisions of this Agreement, such consent or approval may be
Given by the Chairman or Vice-Chairman of the Authority unless
otherwise provided by law or by rules or regulations of the
Authority.

Section 9.08. Captions. The captions or headings in this
Agreement are for convenience only and in no way define, limit or
describe the scope or intent of any provisions or sections of this
Agreement.

Section 9.09. No Pecuniary Liability of Authority, No

provision, covenant, or agreement contained in this Agreement, or
any obligation herein imposed upon the Authority, or the breach
thereof, shall constitute an indebtedness or liability of the
State or any political subdivision of the State or any public
corporation or governmental agency existing under the laws
thereof, including, without limitation, the Authority. In making
the agreements, provisions and covenants set forth in this
Agreement, the Authority has not obligated itself except with
respect to the application of the revenues, income and other
property as derived herefrom, as hereinabove provided (other than
the fees and expenses of the Authority and amounts derived from
the indemnity provided pursuant to Section 4.03).

Section 9.10. Payments Due on Holidays. If the date for

making any payment or the last date for performance of any act or
the exercise of any right, as provided in this Agreement, shall be
a legal holiday or a day on which banking institutions in the
State are authorized by law to remain closed, such payments may be
made or act performed or right exercised on the next succeeding
day not a legal holiday or a day on which such banking
institutions are authorized by law to remain closed with the same
force and effect as if done on the nominal date provided in this

Agreement.

Section 9.11. tificateholders’ Benefit: Right hers
Institution’ ovenants, All covenants, agreements

and representations on the part of the Institution and the
Authority, as set forth in this Agreement, are hereby declared to
be for the benefit of the registered owners from time to time of
the Series 1993 Certificates, the Trustee, and the indemnified
parties listed in Section 4.03 hereof to the extent expressly
provided herein, each and all of whom are intended to be
third-party beneficiaries of this Agreement. The Institution
covenants and agrees to do all things within its power in order to
comply with and to enable the Authority to comply with all
requirements and to fulfill and to enable the Authority to fulfill
all covenants of the Indenture.

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If the Institution shall fail to make any payment or perform
any act required to be performed hereunder, then and in each such
case the Authority or the Trustee may (but shall not be obligated
to) remedy such default for the account of the Institution and
make advances for that purpose. No such performance or advance
shall operate to refinance the obligations of the Institution and
any sums so advanced by the Authority or the Trustee shall be
immediately due from the Institution to the party advancing the
same (who may immediately take any action available at law or in
equity to enforce repayment of the same) and shall bear interest
at the rate of interest on the final maturity of the Series 1993
Certificates from the date of the advance until repaid. The
Authority or the Trustee shall have the right to enter the Medical
Center in order to effectuate the purposes of this Section.

Section 9.12. Reliance by Authority. Anything in this

Agreement to the contrary notwithstanding, the Institution agrees
that the Authority may rely conclusively on the truth and accuracy
of any certificate, opinion, notice, representation or instrument
made or provided by the Institution in order to establish the
existence of any fact or statement of affairs solely within the
knowledge of the Institution, and which is required to be noticed,
represented or certified by the Authority hereunder or in
connection with any filings, representations or certifications
required to be made by the Authority in connection with the
issuance and delivery of the Series 1993 Certificates.

Section 9.13. Disclaimer of Representations. The Authority

makes no representation as to the financial position or business
condition of the Institution and does not represent or warrant as
to any of the statements, materials (financial or otherwise),
representations or certifications furnished or to be made and
furnished by the Institution in connection with the sale of the
Series 1993 Certificates, or as to the correctness, completeness
or accuracy of such statements.

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IN WITNESS WHEREOF, the Authority has executed this Agreement
with its seal hereunto affixed and attested by its duly authorized
officers and the Institution has caused this Agreement to be
executed in its corporate name with its corporate seal hereunto

affixed and attested by its duly authorized officers, all as of
the date first above written.

TRI-CITY HOSPITAL AUTHORITY
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BITTE f

(SEAL)

Attest: . BY

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EXHIBIT A
DESCRIPTION OF PROJECT

The Project consists of certain future capital improvements
to and equipment purchases for the Medical Center not requiring
regulatory approval through the year 1995. The Institution’s
administrative staff has planned and approved the following
equipment purchases and capital improvements which it expects to
finance with the portion of the proceeds of the Series 1993
Certificates deposited to the Construction Fund, including
investment earnings thereon:

Estimated

Year Description —_foest__
1993/94 Upgrade Central Corridor S$ 630,000
1993/94 Rehabilitation Unit Expansion 490,000
1993/94 Upgrade Patient Room Decor 275,000
1993/94 Other Facility Renovations 1,000,000
1993/94 Nuclear Medicine Camera 450,000
1993/94 Radiology Information System 400,000
1993/94 Patient Beds 110,000
1994/95 Corridor Renovation - 2nd and 3rd floors 1,000,000
1994/95 Patient Rooms - Remodeling 500,000
1994/95 Nursery Expansion 400,000
1994/95 Labor and Delivery Expansion 500,000
1994/95 Operating Room Renovation and Expansion —__ 479.900
TOTAL - $6,225,000

In addition, approximately $11,000,000 of the proceeds of the
Series 1993 Certificates will be used by the Institution to repay
a loan made March 2, 1992 by First Union National Bank of Georgia,
Atlanta, Georgia, to the Institution, the proceeds of which were
used to reimburse itself for routine capital expenditures made by
the Institution since July 1, 1988 from its own internally
generated funds.
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EXHIBIT / ATTACHMENT

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PROMI Y¥_N

THIS NOTE HAS NOT BEEN REGISTERED UNDER
(I) THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED,
(II} THE GEORGIA SECURITIES ACT OF 1973, AS AMENDED, OR
{III) UNDER ANY OTHER STATE SECURITIES LAW

THIS NOTE IS NON-TRANSFERABLE EXCEPT AS WILL BE REQUIRED TO
EFFECT ANY TRANSFER TO ANY SUCCESSOR TRUSTEE, UNDER THE TRUST
INDENTURE DATED AS OF NOVEMBER 1, 1993, BETWEEN TRI-CITY
HOSPITAL AUTHORITY AND TRUSTEE, AS TRUSTEE, AS IT MAY BE
SUPPLEMENTED HEREAFTER.

No. 1993 $39,140,000

KNOW ALL MEN BY THESE PRESENTS that SOUTH FULTON MEDICAL
CENTER, INC., a Georgia nonprofit corporation (the "“Institution”),
for value received hereby acknowledges itself obligated to, and
promises to pay to Bank South, N.A., as trustee, or its assignee,
the principal sum of $39,140,000 and to pay interest and
redemption premium (if any) thereon as follows:

(a) on or before January 20, 1994, and on or before the
20th day of each month thereafter, an amount equal to
one-sixth (1/6th) of the interest which is due and payable on
the “Series 1993 Certificates" (as hereinafter defined) on
the next succeeding July 1 or January 1 (each an “interest
payment date"), as the case may be;

{b} (i) on or before January 20, 1994, and on or before
the 20th day of each month thereafter to and including
June 20, 1994, an amount equal to one-sixth ({1/6th) of the
principal which is due and payable on the Series 1993
Certificates on July 1, 1994, and (ii) on or before July 20,
1994, and on or before the 20th day of each month thereafter,
an amount equal to one-twelfth (1/12th) of the principal, if
any, which is due and payable on the Series 1993 Certificates
on the next succeeding July 1;

(c) (i) on or before the 20th day of the 12th month
prior to the date on which the first of the mandatory sinking
fund requirements relating to the Series 1993 Certificates
becomes due as provided in Section 303 of the Trust Indenture
hereinafter referred to and continuing on or before the 20th
day of each month thereafter, an amount equal to one-twelfth

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 19 of 67

IN WITNESS WHEREOF, the Institution has caused this Note to
be executed and attested in its name under seal by its duly
authorized officers this 22nd day of December, 1993.

(SEAL) SOUTH FULTON MEDICAL CENTER, INC.

ATTEST:

By: LL, Kine

Title:

Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02, Page 20 of 67

CERTIFICATE OF AUTHENTICA1iON

The undersigned Master Trustee hereby certifies that this
Note No. 1993 is one of the Obligations described in the within
mentioned Master Trust Indenture.

Date of Authentication: 12-22-93

BANK SOUTH, N.A., aS Master Trustee

By: Drang B Seutfas

Author#zed Officer
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 21 of 67

EXHIBIT. A
(FORM OF PROMISSORY NOTE]

THIS NOTE HAS NOT BEEN REGISTERED UNDER
(I) THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED,
(II) THE GEORGIA SECURITIES ACT OF 1973, AS AMENDED, OR
(III) UNDER ANY OTHER STATE SECURITIES LAW

THIS NOTE IS NON-TRANSFERABLE EXCEPT AS WILL BE REQUIRED TO
EFFECT ANY TRANSFER TO ANY SUCCESSOR TRUSTEE, UNDER THE TRUST
INDENTURE DATED AS OF NOVEMBER 1, 1993, BETWEEN TRI-CITY
HOSPITAL AUTHORITY AND TRUSTEE, AS TRUSTEE, AS IT MAY BE
SUPPLEMENTED HEREAFTER.

No. 1993 $39,140,000

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KNOW ALL MEN BY THESE PRESENTS that SOUTH FULTON MEDICAL
CENTER, INC., a Georgia nonprofit corporation (the “Institution”),
for value received hereby acknowledges itself obligated to, and
promises to pay to Bank South, N.A., as trustee, or its assignee,
the principal sum of $39,140,000 and to pay interest and
redemption premium (if any) thereon as follows:

fa} on or before January 20, 1994, and on or before the
20th day of each month thereafter,. an amount equal to
one-sixth (1/6th).of the interest which is due and payable on
the “Series 1993 Certificates" (as hereinafter defined) on
the next succeeding July 1 or January 1 (each an “interest
payment date“), as the case may be;

(b) (i) on or before January 20, 1994, and on or before
the 20th day of each month thereafter to and including
June 20, 1994, an amount equal to one-sixth (1/6th) of the
principal which is due and payable on the Series 1993
Certificates on July 1, 1994, and (ii) on or before July 20,
{ 1994, and on or before the 20th day of each month thereafter,.
i an amount equal to one-twelfth (1/12th) of the principal, if
; any, which is due and payable on the Series 1993 Certificates
on the next succeeding July 1;

{

1 (c): (i) on or before the 20th day of the 12th month

‘ prior to the date.on which the first of the mandatory sinking
fund requirements relating to the Series 1993 Certificates
becomes due as provided in Section 303 of the Trust Indenture
hereinafter referred to and continuing on or before the 20th
day of each month thereafter, an amount equal to one-twelfth
of the mandatory sinking fund redemption requirement relating
to the Series 1993 Certificates next coming due, and (ii) on

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or before the due date therefor, any amount which may from
time to time be required to enable the Trustee to pay the
principal, redemption premium (if any) and interest on the
Series 1993 Certificates as and when the Series 1993
Certificates are called for redemption or become due because
of the acceleration of the Series 1993 Certificates pursuant
to such Trust Indenture; and

(d) on or before the due date therefor, any amount
which may from time to time be required to be deposited into
the Debt Service Reserve Fund created in the Trust Indenture
pursuant to Section 5.05 of the Loan Agreement hereinafter
referred to which amount shall be equal to the pro rata
portion of the Reserve Requirement allocable to the Series
1993 Certificates.

Principal hereof, interest hereon and any applicable
redemption premium, are payable in any coin or currency of the
United States of America which on the payment date is legal tender
for the payment of public and private debts.

This Note is issued pursuant to the Master Trust Indenture,
dated as of November 1, 1993, as supplemented by the First
Supplemental Master Trust Indenture, dated as of November 1, 1993
(as supplemented, the "Master Indenture"}, between and among the
Institution, South Fulton Medical Center, Inc., South Fulton
Medical Arts Center, Inc., South Atlanta Diagnostic Cardiology,
Inc., South Fulton Health Care Center, Inc. and Georgia
International Health Alliance, Inc. (collectively, the "Initial
Obligated Group") and Bank South, N.A., as master trustee (the
“Master Trustee"), for the purpose of evidencing and securing the
obligations of the Institution under the Loan Agreement, dated as
of November 1, 1993 (the “Loan Agreement"), between Tri-City
Hospital Authority (the “Authority") and the Institution. The
Loan Agreement provides for the loan by the Authority to the -
Institution of the proceeds of the issuance and sale of revenue
anticipation certificates of the Authority in the aggregate
principal amount of $39,140,000, designated "Tri-City Hospital
Authority Revenue Certificates, Series 1993" (the "Series 1993
Certificates"). The Series 1993 Certificates are being issued
under and pursuant to the Constitution and laws of the State of
Georgia, and particularly the Georgia Hospital Authorities Law
(0.C.G.A. Section 31-7-70, et seg.}, as amended, and the Trust
Indenture, dated as of November 1, 1993 (the “Indenture"), between.
the Authority and Bank South, N.A., as trustee (the “Trustee"}, to
provide funds to (i) finance the cost of the acquisition by the
Institution of the Medical Center (as defined in the Indenture)
from the Authority, (ii) finance the costs of acquiring,
constructing and installing certain additions, improvements and
renovations to the Medical Center, and the cost of reimbursing the
Institution for the cost of certain improvements heretofore made
by the Institution to the Medical Center, (iii) fund the Debt
Service Reserve Fund (as defined in the Indenture) in an amount
equal to the Reserve Requirement (as defined in the Indenture) and

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 23 of 67

(iv) pay all or a portion of the cost of issuing the Series 1993
Certificates.

Certain capitalized words and terms used in this Note and not
defined herein shall have the respective meanings given such words
and terms in the Master Indenture and the Indenture.

_ Notwithstanding any schedule of payments to be made on this
Note set forth herein, the Institution agrees to make payments
upon this Note at the times and in the amounts equal to all
amounts to be paid on the Series 1993 Certificates from time to
time Outstanding under the Indenture as the same shall become due,
whether at maturity, upon redemption, by declaration of
acceleration or otherwise.

The Institution shall receive credit for payment on this
Note, in addition to any credits resulting from payment or
prepayment from other sources, as provided in Section 5.02 of the
Loan Agreement.

This Note is subject to prepayment as provided in the Loan
Agreement.

The principal hereof, premium, if any, and interest hereon
shall be payable in immediately available funds by depositing the
same with the registered owner hereof at or prior to the opening
of business on the date the same shall become due and payable or
the next succeeding business day if such date is a day on which
banking institutions in the State of Georgia or in the city in
which the principal corporate trust office of the Trustee is
located are authorized by law to remain closed.

Any payment due hereon which shall not be paid when due shall
bear interest at the lesser of the highest rate of interest borne
on any Seriés 1993 Certificate or the highest rate permitted by
law from the date such payment is due until the payment is made.

Upon the occurrence of certain “Events of Default" (as
defined in the Master Indenture), the principal of this Note then
Outstanding may be declared, and thereupon shall become, due and
payable as provided in the Master Indenture. The occurrence of a
“Loan Default" pursuant to the Loan Agreement will constitute an-
Event of Default pursuant to the Master Indenture.

This Note may only be registered as transferred to a
successor trustee under the Indenture. Such registration of
transfer shall be without charge to the holder hereof, and any
taxes or other governmental charges required to be paid with
respect to the same shall be paid by the Institution. Upon any
such registration of transfer, the Institution shall execute and
deliver in exchange-for this Note a new registered Note,
registered in the name of the transferee.

Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 24 of 67

This Note is issuable only as a registered note without
coupons in the principal amount equal to the principal amount of
Series 1993 Certificates Outstanding. Notwithstanding any
provisions of the Master Indenture to the contrary, this Note
shall not be subject to exchange for a Note or Notes bearing
coupons or for Notes of any other denomination.

Ownership of this Note shall be registered on the register to
be maintained for that purpose at the Principal Office of the
Master Trustee. Prior to the due presentment hereof for
registration of transfer, the Institution may deem and treat the
person in whose name this Note is registered as the absolute owner
hereof for all purposes and the Institution shall not be affected
by any notice to the contrary. Payment of either principal or
interest on this Note shall be made only as provided in the Loan
Agreement to or upon the order of the Trustee, or if subsequently
transferred, to the registered holder hereof. All payments made
to the Trustee or any such registered owner hereof shall be valid,
and, to the extent of the sum or sums so paid, effectual to
satisfy and discharge the liability for moneys payable on this
Note. ,

No covenant or agreement contained in this Note shall be
deemed to be a covenant or agreement of any officer, agent or
employee of the Institution in his individual capacity, and no
officer, agent or employee of the Institution shall be liable
personally on this Note or be subject to any personal liability or
accountability by reason of the issuance of this Note.

This Note shall not be entitled to any benefit under the
Master Indenture, or be valid or become obligatory for any
purpose, until this Note shall have been authenticated by
execution by the Master Trustee of the Certificate of
Authentication inscribed hereon.

The Institution hereby waives demand, protest, notice of
demand, protest and nonpayment and any other notice, required by
law relative hereto, except to the extent as otherwise may be
provided for in the Loan Agreement or the Master Indenture.

The Institution agrees, in the event that this Note or any
portion hereof is collected by law or through an attorney at law,
to pay all reasonable costs of collection, including, without
limitation, reasonable attorney's fees, to the extent actually

incurred.
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 25 of 67

IN WITNESS WHEREOF, the Institution has caused this Note to
be executed and attested in its name under seal by its duly
authorized officers this 22nd day of December, 1993.

(SEAL) SOUTH FULTON MEDICAL CENTER, INC.
ATTEST: By:
Title:
By:
Title:
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 26 of 67

CERTIFICATE OF AUTHENTICATION

The undersigned Master Trustee hereby certifies that this
Note No. 1993 is one of the Obligations described in the within
mentioned Master Trust Indenture.

Date of Authentication:

BANK SOUTH, N.A., as Master Trustee

Authorized Officer
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 27 of 67

EXHIBIT / ATTACHMENT

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 29 of 67

DEBTOR

ATTACHMENT “A" TO FINANCING STATEMENT

TRI-CITY HOSPITAL AUTHORITY
Attention: Chairman

c/o South Fulton Medical Center
1170 Cleveland Avenue

East Point, Georgia 30344

SECURED PARTY: BANK SOUTH, N.A., as Trustee

Attention: Corporate Trust Department, MC47
5S Marietta Street
Atlanta, Georgia 30303

(4) This Financing Statement covers the following types (or
items) of property: all right, title and interest of the
Debtor in, to and under:

(a) the Loan Agreement (except certain notice,
indemnification and reimbursement rights reserved by the
Debtor), dated as of November 1, 1993 (the “Agreement"),
between the Debtor, as lender, and South Fulton Medical
Center, Inc., a Georgia nonprofit corporation (the
“Borrower"), as borrower;

(b) the promissory note of the Borrower
denominated as the "1993 Master Note,“ dated
December 22, 1993, executed by the Borrower and payable
to the Secured Party (the “Note”), including all
payments to be made thereunder; and

(c) all moneys and securities held by the Secured
Party in any and all of the funds and accounts created
in the Trust Indenture, dated as of November 1, 1993
(the “Indenture"), between the Debtor and the Secured
Party, relating to $39,140,000 in original aggregate
principal amount of Tri-City Hospital Authority Revenue
Certificates, Series 1993; and

The final maturity date of the indebtedness which is the
subject of this financing statement is July 1, 2016.
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 30 of 67

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 31 of 67

ATTACHMENT “A“ TO FINANCING STATEMENT
DEBTORS: SOUTH FULTON MEDICAL ARTS CENTER, INC.

Attention: President & Chief Executive Officer
c/o South Fulton Medical Center

1170 Cleveland Avenue

East Point, Georgia 30344

SECURED PARTY: BANK SOUTH, N.A., aS Master Trustee
Attention: Corporate Trust Department, MC47

55 Marietta Street
Atlanta, Georgia 30303

(4) This Financing Statement covers the following types (or
items) of property: all right, title and interest of the

Debtor in:

(a) all Gross Revenues (as hereinafter defined}
and Pledged Shares (as hereinafter defined); and

(b) all moneys and securities held by the Secured
Party in any and all of the funds and accounts created
under the Master Trust Indenture, dated as of
November 1, 1993 (the “Master Indenture"), between the
Debtor, South Fulton Medical Center, Inc., South Fulton
Medical Center Foundation, Inc., South Atlanta
Diagnostic Cardiology, Inc., South Fulton Health Care
Center, Inc. and Georgia International Health Alliance,
Inc. (collectively, the “Debtors"), and the Secured
Party, as Master Trustee.

"Gross Revenues", as used herein, means all revenues,
income, receipts, accounts receivable and money derived from
the operation of the Property (as defined in the Master
Indenture) or from the performance of management services,
regardless of where such management services are performed,
received in any period by the Debtors, including, but without
limiting the generality of the foregoing, (a) proceeds
derived from (i) insurance, except to the extent the use
thereof is otherwise specifically required by any agreement
or indenture, (ii) accounts receivable, (iii) securities and
other investments, (iv) inventory and other tangible and
intangible property, (v) hospital expense reimbursement or
medical expense reimbursement for hospital functions or
insurance programs or agreements, (vi) condemnation awards
except to the extent that the use thereof is otherwise
specifically required by any agreement or indenture, and
(vii) contract and other rights and assets now or hereafter
owned or held or possessed by or on behalf of the Debtors;
(b) amounts earned on amounts deposited into the funds and
accounts created under any Depositary Agreement (as defined |
in the Master Indenture) and (c) the revenues of any
surviving, resulting or transferee entity provided for in the

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 32 of 67

Master Indenture; provided, however, there shall not be
included in Gross Revenues (A) the proceeds of borrowing and
interest earned or investment earnings thereon if and to the
extent such interest or investment earnings is required to be
excluded by the terms of the borrowing, (B) revenues, income,
receipts and money received by any Debtor as agent for and on
behalf of someone other than any Debtor and (C) donor
restricted gifts, grants, bequests, donations or
contributions to the Debtors for use in connection with the
Property to the extent restricted by the donor thereof.

"Pledged Shares“ shall mean 100% of the voting stock of
any Restricted Affiliate (as defined in the Master Indenture}
of any Debtor which is a stock corporation.
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 _ _Page 33 of 67

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PEBTORS: SOUTH FULTON MEDICAL CENTER, INC.
Attention: President & Chief Executive Officer
c/o South Fulton Medical Center
1170 Cleveland Avenue
East Point, Georgia 30344

URED PA 3 BANK SOUTH, N.A., as Master Trustee
Attention: Corporate Trust Department, MC47
55 Marietta Street
Atlanta, Georgia 30303

(4) This Financing Statement covers the following types (or
items) of property: all right, title and interest of the

Debtor in:

(a) all Gross Revenues (as hereinafter defined)
and Pledged Shares (as hereinafter defined}; and

(b) all moneys and securities held by the Secured
Party in any and all of the funds and accounts created
under the Master Trust Indenture, dated as of
November 1, 1993 (the “Master Indenture“), between the
Debtor, South Fulton Medical Center Foundation, Inc.,
South Fulton Medical Arts Center, Inc., South Atlanta
Diagnostic Cardiology, Inc., South Fulton Health Care
Center, Inc. and Georgia International Health Alliance,
Inc. (collectively, the "Debtors"), and the Secured
Party, as Master Trustee.

"Gross Revenues", as used herein, means all revenues,
income, receipts, accounts receivable and money derived from
the operation of the Property (as defined in the Master
Indenture) or from the performance of management services,
regardless of where such management services are performed,
received in any period by the Debtors, including, but without
limiting the generality of the foregoing, (a) proceeds
derived from (i) insurance, except to the extent the use
thereof is otherwise specifically required by any agreement
or indenture, (ii) accounts receivable, (iii) securities and
other investments, (iv) inventory and other tangible and
intangible property, (v) hospital expense reimbursement or
medical expense reimbursement for hospital functions or
insurance programs or agreements, (vi) condemnation awards
except to the extent that the use thereof is otherwise
specifically required by any agreement or indenture, and
(vii) contract and other rights and assets now or hereafter
owned or held or possessed by or on behalf of the Debtors;
(b) amounts earned on amounts deposited into the funds and
accounts created under any Depositary Agreement (as defined
in the Master Indenture) and (c) the revenues of any
surviving, resulting or transferee entity provided for in the

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Master Indenture; provided, however, there shall not be
included in Gross Revenues (A) the proceeds of borrowing and
interest earned or investment earnings thereon if and to the
extent such interest or investment earnings is required to be
excluded by the terms of the borrowing, (B) revenues, income,
receipts and money received by any Debtor as agent for and on
behalf of someone other than any Debtor and (C) donor
restricted gifts, grants, bequests, donations or
contributions to the Debtors for use in connection with the
Property to the extent restricted by the donor thereof.

“Pledged Shares" shall mean 100% of the voting stock of
any Restricted Affiliate (as defined in the Master Indenture)
of any Debtor which is a stock corporation.

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T a i"

DEBTORS: SOUTH FULTON MEDICAL CENTER FOUNDATION, INC.
Attention: President & Chief Executive Officer
c/o South Fulton Medical Center
1170 Cleveland Avenue
East Point, Georgia 30344

SECURED PARTY: BANK SOUTH, N.A., aS Master Trustee
Attention: Corporate Trust Department, MC47

55 Marietta Street
Atlanta, Georgia 30303

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Cardiology, Inc., South Fulton Health Care Center, Inc.
and Georgia International Health Alliance, Inc.
(collectively, the "“Debtors"), and the Secured Party, as
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received in any period by the Debtors, including, but without
limiting the generality of the foregoing, (a) proceeds
derived from (i) insurance, except to the extent the use
thereof is otherwise specifically required by any agreement
or indenture, (ii) accounts receivable, (iii) securities and
other investments, (iv) inventory and other tangible and
intangible property, (v) hospital expense reimbursement or
medical expense reimbursement for hospital functions or
insurance programs or agreements, (vi) condemnation awards
except to the extent that the use thereof is otherwise
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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 38 of 67

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of any Debtor which is a stock corporation.

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DEBTORS: SOUTH ATLANTA DIAGNOSTIC CARDIOLOGY, INC.
Attention: President & Chief Executive Officer
c/o South Fulton Medical Center
1170 Cleveland Avenue
East Point, Georgia 30344

SECURED PARTY: BANK SOUTH, N.A., as Master Trustee
Attention: Corporate Trust Department, MC47
55 Marietta Street
Atlanta, Georgia 30303

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except to the extent that the use thereof is otherwise
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owned or held or possessed by or on behalf of the Debtors;
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DEBTORS: SOUTH FULTON HEALTH CARE CENTER, INC.
Attention: President & Chief Executive Officer

c/o South Fulton Medical Center
1170 Cleveland Avenue
East Point, Georgia 30344

SECURED PARTY: BANK SOUTH, N.A., as Master Trustee
Attention: Corporate Trust Department, MC4¢7

55 Marietta Street
Atlanta, Georgia 30303

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 44 of 67

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DEBTORS: GEORGIA INTERNATIONAL HEALTH ALLIANCE, INC.
Attention: President & Chief Executive Officer

c/o South Fulton Medical Center
1170 Cleveland Avenue
East Point, Georgia 30344

SECURED PARTY: BANK SOUTH, N.A., as Master Trustee
Attention: Corporate Trust Department, MC47

55 Marietta Street
Atlanta, Georgia 30303

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or indenture, (ii) accounts receivable, (iii) securities and
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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 47 of 67

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EXHIBIT / ATTACHMENT

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EXHIBIT 6

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Corporate Trust Services .
Cee eee ee Greet, Sue 500 OTYCE OF EVENT OF DEFAULT

May 12, 2000

Notice to Holders of:

Tri-City Hospital Authority, Georgia
Revenue Certificates, Series 1993 (the “Bonds”)
Cusip Numbers*: 895402 FF7, FG5, FH3, FJ9, FR1

~ Note: If you are a nominee or a depository and not a beneficial holder, please forward copies of this
notice immediately to your clients who are beneficial holders.

Reference is made to the (i) Master Trust Indenture dated as of November 1, 1993, as
supplemented (the “Master Indenture”) between South Fulton Medical Center, Inc., South Fulton
Medical Center Foundation, Inc., South Fulton Medical Arts Center, Inc., South Atlanta
Diagnostic Cardiology, Inc., South Fulton Health Care Center, Inc. and Georgia International
Health Alliance, Inc. (the “Obligated Issuers”) and U.S. Bank Trust National Association, as
successor trustee (the “Master Trustee”) and the (ii) Trust Indenture dated as of November 1,
1993 (the “Trust Indenture’) between Tri-City Hospital Authority and U.S. Bank Trust National
Association, as successor trustee (the “Certificate Trustee’) pursuant to which the above
referenced Certificates (the “Certificates”) were issued. The Master Trustee and Certificate
Trustee are collectively herein referred to as the Trustee.

The Trustee hereby advises you that an Event of Default has occurred as defined and referenced
in the Master Indenture and the Trust Indenture, respectively. On April 26, 2000, the Obligated
Issuers filed voluntary petitions for relief under Chapter 11 of the Bankruptcy Codé‘in the United
States Bankruptcy Court for the Northern District of Georgia, Atlanta Division. Their five

_separate bankruptcy cases (the “Bankruptcy Cases”) were consolidated for procedural purposes
and are being jointly administered by the Bankruptcy Court.

On May 3, 2000, the Obligated Issuers filed an adversary proceeding in the Bankruptcy Court
against the Trustee requesting, among other things, that the Bankruptcy Court enter judgment to
remove the security interest in the Gross Revenues (as defined in the Master Indenture) pledged
by the Obligated Issuers to secure the Bonds. The effect of this action would be to classify the
Bonds as unsecured obligations of the Obligated Issuers. This action was as a result of the
alleged expiration of the financing statements covering the Gross Revenues. The Trustee intends

to vigorously challenge that proceeding.

On May 8, 2000,.the Trustee was appointed to the single Official Committee of Unsecured
Creditors serving in the Bankruptcy Cases, The other committee members include trade
creditors and other creditors of the Obligated Issuers.
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 50 of 67

As part of the Bankruptcy proceedings the Trustee will file a Proof-of-Claim on behalf of the
debt owed to Bondholders. Individual Bondholders need not take any actions in that regard.
There is currently $33,510,000 in principal amount of Bonds outstanding and the Trustee is
holding $4,896,766. in cash collateral under the terms of the Indenture. Ultimate recovery to the
Bondholders is unclear; therefore no payment of interest and principal due on July 1, 2000 is

anticipated on being paid.

The Trustee will continue to monitor the situation and notify you of further developments as they

occur. Holders with questions concerning this Notice should be directed to U.S. Bank National

ms Association, Corporate Trust Department, 550 South Hope Street, Suite 500, Los Angeles, CA
‘90071, Attention: Keith R. Marshall, Vice President. The telephone number for a Bondholders

Service Representative is (612) 973-5840.

Please note that the Trustee may conclude that a specific response to particular inquiries from
individual holders is not consistent with equal and full dissemination of information to all
holders. Holders should not rely on the Trustee as their sole source of information. The Trustee
makes no recommendations and gives no investment advice herein or as to the Certificates

generally.

U.S. Bank National Association, as Trustee

* The Trustee shall not be held responsible for the selection or use of the Cusip number, nor is
any representation made as to its correctness indicated in the notice. It is solely for convenience

of the holders.
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 51 of 67

EXHIBIT / ATTACHMENT

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EXHIBIT 7

Comptroller of the Currency
Administrator of National Banks

Midwestern District Office
2345 Grand Boulevard, Suite 700

Kansas City, MO 64108

May 17, 2000 Conditional Approval #397

June 2000

Mr. Mark D. Hartzell
180 E. Fifth Street
St. Paul, MN 55101

Re: Application to Establish an Operating Subsidiary
U.S. Bank National Association (USBank)
Minneapolis, MN
2000-M W-08-020

Application for preliminary charter approval
U.S. Bank Trust National Association, Wilmington, DE (USTrust)
2000-M W-01-008

Residency Waiver for U.S. Bank Trust National Association
2000-MW- 12-045

Dear Mr. Hartzell:

The Comptroller of the Currency (OCC) has reviewed your application to establish a new
national trust bank, which will engage solely in fiduciary activities, with the title of U.S. Bank
Trust National Association. On this date, after a thorough evaluation of all data available to the
OCC, we found that your proposal met the requirements for preliminary conditional approval.
Your requests for the establishment of an operating subsidiary by U.S. Bank National
Association is also approved, as well as your residency waiver request for the new bank.

This approval is granted based on a thorough review of all information available, including the
representations and commitments made in the application and by the proposed bank’s
representatives. We also made our decision to grant preliminary conditional approval with the
understanding that the proposed national bank will apply for membership in the Federal Reserve
System and will not be FDIC-insured.

This approval is subject to the condition that the bank shall provide the OCC’s Deputy
Comptroller for Large Banks Timothy Long at least thirty (30) days prior notice of any
significant deviations or changes from the proposed operating plan during the first three years of
operation. This condition is enforceable under 12 USC, 1818.
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 53 of 67

Mr. Mark D. Hartzell
Control #2000-M W-08-020, 2000-MW-01-008 and 2000-MW-12-045

Page Two

Please refer to the “Corporate Organization” booklet (enclosed) in the Comptroller’s Corporate
Manual for the instructions on organizing your bank. The booklet contains all of the steps you
must take to receive your charter. As detailed in the booklet, you may establish the corporate
existence of and begin organizing the bank as soon as you adopt and forward acceptable Articles
of Association and the Organization Certificate to this office. As a “body corporate” or legal
entity, you may begin taking those steps necessary for obtaming final approval, but you may not
begin the business of banking until you fulfill all requirements for a bank in organization and you
are granted final approval by the OCC. Please contact Analysis Specialist Judith Bollig at
(816) 556-1860 if you have questions about the in-organization phase.

Enclosed are standard requirements that must be met before the bank will be allowed to
commence business. Management must ensure that the applicable polictes and procedures are
established and adopted by the board of directors before the bank begins operation. Applicable
standard requirements also must be satisfied before the bank will be allowed to commence

business.

The OCC poses no objection to Diane L. Thormodsgard serving as Chairperson of the Board and
Chief Executive Officer. All other executive officers are subject to the OCC’s prior review and

clearance.

The OCC poses no objection to Diane L. Thormodsgard, Teresa Caspary, Dennis M. Egan,
Terry L. McRoberts and Mark D. Harzell serving as directors. All other directors are subject to
the OCC’s prior review and clearance.

You are also reminded that for a period of two years after the bank has opened for business, the
OCC must review and have no objection to any new executive officer or director prior to that

person assuming such position.

The OCC also granted your waiver request of the residency requirements of 12 USC 72 for the
majority of the board of directors of U.S. Bank Trust National Association. This waiver is
granted based upon a review of all available information, including the filing and the bank’s
representation that this waiver will not affect the board’s responsibility to direct the bank’s
operations in a safe, sound, and legal manner. Please understand that the OCC reserves the right
to withdraw or modify this waiver and, at its discretion, to request additional information at any

time in the future.

The OCC will send to you under separate cover an appropriate set of OCC handbooks, manuals,
issuances, and selected other publications.

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 54 of 67

Mr. Mark D. Hartzell
Control #2000-M W-08-020, 2000-MW-01-008 and 2000-M W-12-045

Page Three

You should direct any questions concerning this preliminary conditional approval to National
Bank Examiner Jill K. Kennard at (816) 556-1860.

Sincerely,
-signed-

Ellen Tanner Shepherd
Licensing Manager

Enclosures
Standard Requirements
Minimum Policies and Procedures
Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 55 of 67

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EXHIBIT / ATTACHMENT

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Case 1:02-cv-Ojgag.4-JOF Document 1-4 Filed 0 ely? Page 56 of 67

ED IN OFFICE

IN THE SUPERIOR COURT OF FULTON COUNT NOY

STATE OF GEORGIA

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FULTON COUNTY, BA OUR

U.S. BANK TRUST NATIONAL ASSOCIATION, * CIVIL ACTION FILE
as successor trustee, *
* NO. 2001CV4259]
Plaintiff, *
*
v. *
*
SOUTHTRUST BANK AND *
RELIANCE TRUST COMPANY, *
*
Defendants. *

ANSWER OF RELIANCE TRUST COMPANY

NOW COMES Defendant Reliance Trust Company (‘Reliance’) and answers the

Complaint in this action, as follows:

FIRST DEFENSE

The Complaint, and each and every Count thereof, fails to state a claim against Reliance

upon which relief may be granted.

SECOND DEFENSE

Pursuant to Section 8.1(a} of the Master Trust Indenture between South Fulton Medical
Center, Inc., et al. and Bank South, N.A. as original Master Trustee dated as of November 1,
1993 (the “Master Indenture’), the Master Trustee undertook to perform “only” such duties as
are “specifically set forth in this Indenture.” The Master Indenture does not contain a specific

undertaking by the Masier Trustee to be responsible for filing UCC-3 continuation statements.
Case 102-cv- Cag t 4 JOF Document 1-4 Filed 05/ ow Page 57 of 67

THIRD DEFENSE

Plaintiff failed to mitigate the alleged damages which are the subject of the Complaint.

FOURTH DEFENSE

Plaintiff's negligence bars any recovery against Reliance.

FIFTH DEFENSE

The alleged damages complained of were caused by the intervening or superceding

negligence of the Plaintiff.

SIXTH DEFENSE

Plaintiff lacks the standing to prosecute the claims which it has attempted to assert in the

Complaint.

SEVENTH DEFENSE

The claims which Plaintiff has attempted to assert are subject to binding arbitration rather

than litigation in this Court.

EIGHTH DEFENSE

Plaintiff is estopped from bringing the claims which it has attempted to assert against

Reliance.

NINTH DEFENSE

Responding to the enumerated averments of the Complaint, Reliance shows as follows:
Case 1:02-cv-O1 gg JOF Document 1-4 Filed (on Page 58 of 67

1.
Reliance is without knowledge or information sufficient to enable it to admit or deny the

averments contained in Paragraph | of the Complaint.

2.

Reliance admits the averments contained in Paragraph 2 of the Complaint

3.
Reliance admits the averments contained in Paragraph 3 of the Complaint, except that the

address of its Registered Agent is 3384 Peachtree Road, Suite 900, Atlanta, Georgia 30326.

4.

Reliance admits the averments contained in Paragraph 4 of the Complaint.

5.

Reliance admits the averments contained in Paragraph 5 of the Complaint.

6.

Reliance admits the averments contained in Paragraph 6 of the Complaint.

7.

Reliance admits the averments contained in Paragraph 7 of the Complaint.

8.

Reliance admits the averments contained in Paragraph 8 of the Complaint.
Case 1:02-cv-01244-JOF Document 1-4 Filed ose Page 59 of 67

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9.

Responding to Paragraph 9 of the Complaint, Reliance admits that, pursuant to an
agreement with the Original Trustee, Reliance serviced corporate trust accounts for which the
Original Trustee served as Trustee, including the Bond Indenture and the Master Indenture.
Reliance denies the remaining averments of Paragraph 9 of the Complaint, and specifically
denies that tt was the “agent” of the Original Trustee and specifically denies that it assumed any

fiduciary responsibility under the Bond Indenture or the Master Indenture.

10.

Reliance admits the averments contained in the first two sentences of Paragraph 10 of the
Complaint, except that Reliance is without knowledge or information sufficient to enable it to
admit or deny the accuracy of the dates set forth in said sentences. Responding to the third
sentence of Paragraph 10 of the Complaint, Reliance admits that it serviced corporate trust
accounts for which SouthTrust served as Trustee, including the Bond Indenture and the Master
Indenture. Reliance denies the remaining averments of Paragraph 10 of the Complaint, and
specifically denies that it was the “agent” of SouthTrust and denies that it assumed any fiduciary

responsibility under the Bond Indenture or the Master Indenture.

11.
Reliance admits the averments contained in the second sentence of Paragraph 11 of the
Complaint, with the exception of the phrase “therefore, the 1993 financing statements lapsed,”
which is a legal conclusion which requires no response. The remainder of Paragraph 11 of the

Complaint is a legal conclusion which requires no response.
Case POR gy OF Document 1-4 Filed ool? Page 60 of 67

12.

Responding to the averments contained in Paragraph 12 of the Complaint, Reliance
admits that its relationship with SouthTrust until March 16, 1999 was as described in
Paragraph 10 of this Answer. Reliance denies the remaining averments contained in
Paragraph 12 of the Complaint. Further responding to Paragraph 12 of the Complaint, Reliance
shows that, prior to December 22, 1998, Plaintiffs affiliate U.S. Bank National Association
(“U.S. Bank’) conducted due diligence with respect to its purchase of Reliance’s corporate trust
services business, from which U.S. Bank learned, or should have learned, that (a) no UCC-3’s
had been filed with respect to the Collateral, and (b) neither SouthTrust nor Reliance had a duty

under the Master Indenture to file UCC-3 continuation statements with respect to the Collateral.

13.
Reliance is without knowledge or information sufficient to enable it to admit or deny the

averments contained in Paragraph 13 of the Complaint.

14.

Reliance admits the averments contained in Paragraph 14 of the Complaint.

15.

Reliance admits the averments contained in Paragraph 15 of the Complaint.

16.

Reliance admits the averments contained in Paragraph 16 of the Complaint.

17.

Reliance admits the averments contained in Paragraph 17 of the Compiaint.
Case 1:02-Cv-0 Jagg4-JOF Document 1-4 Filed 08 ls 2 Page 61 of 67

18.

Reliance admits the averments contained in Paragraph 18 of the Complaint.

19.
Reliance is without knowledge or information sufficient to enable it to admit or deny the

averments contained in Paragraph 19 of the Complaint.

20.
Reliance is without knowledge or information sufficient to enable it to admit or deny the

averments contained in Paragraph 20 of the Complaint.

COUNT I
21.

Reliance incorporates by reference, as if fully restated herein, its responses to

paragraphs 1 through 20.

22.

Reliance denies the averments contained in Paragraph 22 of the Complaint.

23.

Reliance denies the averments contained in Paragraph 23 of the Complaint.

24.

Reliance denies the averments contained in Paragraph 24 of the Complaint.
Case NOR RA IOF Document 1-4 Filed Onin? Page 62 of 67

COUNT II
25.
Reliance incorporates by reference, as if fully restated herein, its responses to

paragraphs 1 through 24.

26.

Reliance denies the averments contained in Paragraph 26 of the Complaint.

27.

Paragraph 27 of the Complaint sets forth a hypothetical statement of fact and legal

conclusions and requires no response.

28.

Reliance denies the averments contained in Paragraph 28 of the Complaint.

29.

Reliance denies the averments contained in Paragraph 29 of the Complaint.

COUNT Il
30.
Reliance incorporates by reference, as if fully restated herein, its responses to

paragraphs | through 29.

31.

Reliance denies the averments contained in Paragraph 31 of the Complaint.
Case 1:02-Cv-O fgg 4-JOF Document 1-4 Filed 05/0 jae? Page 63 of 67

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32.

Reliance denies the averments contained in Paragraph 32 of the Complaint.

33.
Reliance denies all other averments of the Complaint as to which no other responses have

been set forth herein.

WHEREFORE, having fully answered, Reliance demands that it be dismissed from the

action and that all costs be cast upon the Plaintiff.

A
This zy day of November 2001.

F W/KELLEY
G e Bar No. 412296
CHRISTOPHER E. REEVES
Georgia State Bar No. 598205

POWELL, GOLDSTEIN FRAZER & MURPHY LLP
Sixteenth Floor

19{ Peachtree Street, N.E.

Atlanta, Georgia 30303

(404)572-6600

Counsel for Reliance Trust Company

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Case 1:02-cv-O jgfaj4-JOF Document 1-4 Filed 05/0 ty Page 64 of 67

CERTIFICATE OF SERVICE

This is to certify that I have this day served counsel of record in the foregoing matter with
a copy of Answer of Reliance Trust Company by depositing a copy of same in the United States

Mail in a properly addressed envelope with adequate postage thereon as follows:

Katherine A. Constantine, Esq.
Patrick J. McLaughlin, Esq.
Dorsey & Whitney LLP
Pillsbury Center South

220 South Sixth Street
Minneapolis, Minnesota 55402

Teresa Wynn Rosenborough, Esq.
Kelly J. Baker, Esq.

Sutherland Asbill & Brennan LLP
999 Peachtree Street, N.E.
Atlanta, Georgia 30309

Joseph S. Bird TI, Esq.

Bradley Arant Rose & White LLP
2001 Park Place

Suite 1400

Birmingham, Alabama 35203

Nancy Haynes Baughan, Esq.
Parker, Hudson, Rainer & Dobbs
1500 Marquis Two Tower

285 Peachtree Center Avenue, N.E.
Atlanta, Georgia 30303

aot
This 24 tay of November 2001.

POWELL, GOLDSTEIN FRAZER & MURPHY LLP
Sixteenth Floor

191 Peachtree Street, N.E.

Atlanta, Georgia 30303

(404)572-6600

Counsel for Reliance Trust Company

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 65 of 67

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Northern DISTRICT OF Georgia

Gray Murray, Sam Ramsey, and Kenneth Henson,
Individually and as representatives of a Class of
Certificate Holders of Tri-City Hopsital Authoirty

Revenue Certificates,
Vv. CASE NUMBER:

SUMMONS IN A CIVIL CASE

1 02- CV- 124 4
U.S. Bank Trust National Association, and
SouthTrust Bank (f/k/a SouthTrust Bank, N.A.)

TO: (Name and address of defendant) ~

U.S Bank Trust National Association .
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YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (aame and address)

Richard L. Brittain

Wendell R. Bird, P.C.
Jonathan T. McCants

BIRD & ASSOCIATES, P.C.
1150 Monarch Plaza

3414 Peachtree Road, N.E.
Atlanta, Georgia 30326

en answer to the complaint which is herewlth served upon you, within twenty (20) days after service of

this summons upon you, exolusive of the day of service. ff you fall fo do so, judgment by defauit wil be taken against you for
the ratlef demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable pertod of

@me after service.

MAY 8 2002
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Casé T:02-Cv-01244-JOF” Document 1-4 Filéd 05/08/02 Page 66 of 67) ~~ >=

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Northern Georgia

DISTRICT OF
Gray Murray, Sam Ramsey, and Kenneth Henson,

Individually and as Representatives of a Class of
Certificate Holders of Tri-City Hospital Authority SUMMONS IN A CIVIL CASE

Revenue Certificates,
V. CASE NUMBER:

1 O2-CV-1244

U.S. Bank Trust National Association, and
SouthTrust Bank (f/k/a SouthTrust Bank, N.A.)

TO: (Name and address of defendant) ©

SouthTrust Bank (f/k/a Southtrust Bank, N.A.)
Mary Ellen Franklin, Registered Agent

600 West Peachtree St., 21" Floor

Atlanta, Georgia 30308

YOU ARE HEREBY SUMMONED and required ta serve upon PLAINTIFF'S ATTORNEY (name and address)

Richard L. Brittain

Wendell R. Bird, P.C.
Jonathan T. McCants

BIRD & ASSOCIATES, P.C.
1156 Monarch Plaza

3414 Peachtree Road, N.E.

Atlanta, Georgia 30326

an answer to the complaint which is herewith served upon you, within twenty (20) days after service of

this summons upon you, exctusive of the day of service. If you fail fo do so, judgment by defautt will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable period of
fime after service.

MAY 8 2002

DATE

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Case 1:02-cv-01244-JOF Document 1-4 Filed 05/08/02 Page 67 of 67

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Northern DISTRICT OF Georgia

Gray Murray, Sam Ramsey, and Kenneth Henson,
Individually and as representatives of a Class of

Certificate Holders of Tri-City Hopsital Authoirty SUMMONS EN A CIVIL CASE

Revenue Certificates,
V. CASE NUMBER: .

1 02-CV-1244

U.S. Bank Trust National Association, and
SouthTrust Bank (f/k/a SouthTrust Bank, N.A.)

TO: (Name and address of defendant) ~

U.S Bank Trust National Association |
4" Floor, 180 East Fifth Street
St. Paul, Minnesota 55101

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

Richard L. Brittain

Wendell R. Bird, P.C.
Jonathan T. MeCants

BIRD & ASSOCIATES, P.C.
1150 Monarch Plaza

3414 Peachtree Road, N.E.
Atlanta, Georgia 30326

an answer to the complaint which is herewith served upon you, within twenty (20) days after service of

this summons upon you, exclusive of the day of service. If you fail fo do so, judgment by defautt will be taken against you for
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time after service.

MAY 8 2002

DATE

